                      Case: 25-1578
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                                               APPEALS  1   Date
                                                            THE Filed:
                                                                 THIRD 04/15/2025
                                                                         CIRCUIT

                                                    No. 25-1578

                           Atlas Data Privacy Corp, et al.   vs. WE INFORM, LLC, et al.

                                                ENTRY OF APPEARANCE

 Please list the names of all parties represented, using additional sheet(s) if necessary:

Fortnoff Financial, LLC
Indicate the party's role IN THIS COURT (check only one):

                  Petitioner(s)                   Appellant(s)                 Intervenor(s)

                  Respondent(s)                   Appellee(s)                 Amicus Curiae

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SIGNATURE OF COUNSEL: /s/ J. Timothy McDonald

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REV. 10/20/2020
